Case 08-14631-GMB Doc 627-4 Filed 09/05/08 Entered 09/05/08 15:28:02   Desc
               Exhibit D - Summary of Disbursements Page 1 of 2




                         EXHIBIT D
Case 08-14631-GMB Doc 627-4 Filed 09/05/08 Entered 09/05/08 15:28:02    Desc
               Exhibit D - Summary of Disbursements Page 2 of 2



                                   SHAPES
                         DISBURSEMENT SCHEDULE
                        MARCH 31, 2008 - AUGUST 8, 2008




                     EXPENSE                       AMOUNT
      Conference Call Services                                $868.51
      Facsimile                                                 $9.00
      Federal Express                                          $11.76
      Long Distance                                            $42.90
      Meal                                                    $558.73
      PACER                                                   $360.72
      Photocopies                                           $1,713.80
      Postage                                                   $8.64
      Transcripts                                             $404.40
      Transportation                                        $3,439.44
      Westlaw                                               $1,112.28
      TOTALS                                                $8,530.18
